IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 10-0039
                              ((((((((((((((((

                             In Re  Jerry Byrom

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                      On Petition for Writ of Mandamus
            ((((((((((((((((((((((((((((((((((((((((((((((((((((


      ORDER

      1.    The petition for writ of habeas corpus,  filed  on  January  20,
2010, is abated.

      2.    This case is  removed  from  the  Court's  active  docket  until
further order of this Court. It is the  responsibility  of  the  parties  to
immediately notify this Court of the decision in the court of  appeals,  and
in any event to provide a status update no later than March 5, 2010.

      Done at the City of Austin, this 29th day of January, 2010.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




